                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

In re
                                                            Case No. 21-44887
SILVERSIDE SENIOR LIVING,
LLC, et al., 1                                              Chapter 11
                                                            Hon. Lisa S. Gretchko
     Debtors.                                               Jointly Administered
_____________________________/

        DEBTORS’ RESPONSE AND OBJECTION TO APPLICATION
        OF GORDON FOOD SERVICE INC. FOR ALLOWANCE AND
          PAYMENT OF ADMINISTRATIVE PRIORITY CLAIM

        Silverside Senior Living, LLC, and Graceway South Haven, LLC, Debtors

and Debtors in Possession in the above captioned jointly administered cases

(“Silverside” or “Debtors”), by and through their attorneys, Strobl Sharp PLLC,

hereby respond and object to the Application of Gordon Food Service Inc. for

Allowance and Payment of Administrative Priority Claim [Docket No. 108], and

state as follows:

        1.    On October 7, 2021, Gordon Food Service Inc. (“GFS”) filed an

application for allowance and payment of administrative priority claim.




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  The debtors in these jointly administered proceedings along with the last four digits of their
respective federal tax id numbers are Silverside Senior Living, LLC (2357) [Case No. 21-44887-
lsg] and Graceway South Haven, LLC (9393) [Case No. 21-44888-lsg].

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      2.     GFS seeks relief under Section 503(b)(9) of the Bankruptcy Code for

administrative expense status for goods delivered to the Debtor during the 20 days

prior to the petition date.

      3.     The Debtors filed their voluntary petitions for relief under Subchapter

V of Chapter 11 on June 7, 2021 (the “Petition Date”).

      4.     Twenty days prior to the Petition Date was May 18, 2021.

      5.     On May 25, 2021, the State of Michigan began moving the residents

from Graceway to alternative facilities.

      6.     The GFS claim includes a significant delivery purportedly made on

May 26, 2021.

      7.     The Debtors do not believe any deliveries were made on May 26, 2021

while residents were being moved out.

      8.     By May 27, 2021, all residents had been moved from the Graceway

facility and the facility ceased all operations.

      9.     During the final nine (9) days of operations, Graceway would have

received only one delivery of goods from GFS.

      10.    Moreover, Graceway has no records of receiving any post-petition

deliveries from GFS and would not have received any deliveries after May 27, 2021

when there were no employees or agents of Graceway available to accept a delivery.




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      11.    Graceway is continuing to review its records to verify the deliveries , if

any, that were received during the final week of operations.

      WHEREFORE, the Debtors respectfully requests that this Court deny the

Application of Gordon Food Service Inc. for Allowance and Payment of

Administrative Priority Claim [Docket No. 108], and grant such other and further

relief as is just and appropriate in the circumstances.

                                        Respectfully Submitted,

                                        STROBL SHARP PLLC



Dated: November 17, 2021                By:    /s/     Lynn M. Brimer
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